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            TXDVLILOWHUVDVZHOODVIXOOILOWHUVPD\GLVFRXUDJHDUHVSRQGHQWZKRZRXOGEHDEOH
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QRWWRJXHVV LWGLG WKH0RWLRQDOVRIDOVHO\DVVHUWVWKDWWKH&RQVXPHU6WXG\IDLOHGWRDVN

UHVSRQGHQWVWRVWDWHWKHLUJHQGHUDJHDQGKRPH]LSFRGH 0RWLRQDW ,QIDFWWKHJHQGHU

DJHDQGVWDWHRIUHVLGHQFHZHUHFROOHFWHGDVSDUWRIWKHVXUYH\DQG,XQGHUVWDQGWKLVLQIRUPDWLRQ

KDVEHHQSURGXFHGLQWKHOLWLJDWLRQIRU'U+LEEDUG VFRQVLGHUDWLRQ

               7KH0RWLRQ DQG'U+LEEDUG DOVRFRPSODLQVWKDWUHVSRQGHQWVFRXOGKDYHUXVKHG

WKURXJKWKHVXUYH\QRWLQJLWWRRNVRPHRIWKHPVHFRQGVRUOHVV+RZHYHUWKHVXUYH\ZDV

LQWHQWLRQDOO\GHVLJQHGWRWDNHVHFRQGV7KHUHDUHWZRUHDVRQVIRUWKLV7KHVXUYH\

VWUXFWXUHZDVUHODWLYHO\VLPSOHDQGVWUDLJKWIRUZDUGDVNLQJFRQVXPHUVWRDQVZHURQHNH\

TXHVWLRQDERXWWKHDSSHDUDQFHRIDSURGXFWWKDWZDVIDPLOLDUWRWKHP6HFRQGJRRGUHVHDUFKHUV

UHFRJQL]HWKDWDVKRUWFRQFLVHVXUYH\WKDWOLPLWVWKHOHQJWKRIWKHLQWHUYLHZHQFRXUDJHV

UHVSRQGHQWVWRFRPSOHWHWKHWDVNUDWKHUWKDQDEDQGRQLWLQWKHPLGGOH

               7KH0RWLRQIXUWKHUDVVHUWVWKDWWKHGDWDZDVQRWFOHDQHG%XWQHLWKHUWKH0RWLRQ

QRU'U+LEEDUGPDNHVDQ\DVVHUWLRQWKDWWKHSXUSRUWHGIDLOXUHWRFOHDQWKHGDWDDIIHFWHGWKH

UHVXOWVRIWKH&RQVXPHU6WXG\LQDQ\ZD\%\WKLVIDLOXUH,LQIHUWKDW'U+LEEDUGFRQFOXGHG

WKDWWKHUHVXOWVRIWKHVXUYH\ZRXOGQRWKDYHFKDQJHGKDGDGGLWLRQDOVWHSVEHHQWDNHQWR

HOLPLQDWHVRPHRIWKHDQVZHUVWRWKHRSHQHQGHGTXHVWLRQDVNLQJIRUUHDVRQVIRUUDWLQJWKHVL[

EDJVLQUHVSHFWWRVLPLODULW\RIDSSHDUDQFHWRWKH3URMHFW/LQFROQEDJWKDWGRQRWXVHUHFRJQL]DEOH

RUFRPSOHWH(QJOLVKZRUGVRUVHQWHQFHV

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PHWKRGRORJLFDOO\VRXQGVXUYH\VWKDWKDYHQRRSHQHQGHGTXHVWLRQV:KHQRSHQHQGHGTXHVWLRQV

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TXHVWLRQV7KLVGRHVQRWQHFHVVDULO\PHDQWKDWWKHUHVSRQGHQW¶VDQVZHUVWRWKHRWKHUTXHVWLRQV

VKRXOGDXWRPDWLFDOO\EHGLVUHJDUGHGDQGGRHVQRWPHDQWKDWWKHGDWDLV³GLUW\´$WWKLVSRLQWWKH

UHVHDUFKHUKDVWRFKRRVHZKHWKHUWRHOLPLQDWHWKHUHVSRQGHQWHQWLUHO\IURPWKHVXUYH\SRSXODWLRQ

7KLVLVDMXGJPHQWFDOOEDVHGRQDQXPEHURIIDFWRUVLQFOXGLQJRYHUDOOVDPSOHVL]HGLVWULEXWLRQ

DFURVVUHVSRQGHQWVHWF+HUH,GHFLGHGWKDWLWZDVXQQHFHVVDU\WRHOLPLQDWHWKHPVLQFHWKH

GHFLVLRQWRHOLPLQDWHRUQRWWRHOLPLQDWHWKHPGLGQRWDIIHFWWKHTXDQWLWDWLYHUHVXOWVRIWKHVXUYH\

               )LQDOO\WKH0RWLRQFRQWHQGVWKDWWKH&RQVXPHU6WXG\VDPSOHRIUHVSRQGHQWVLV

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JURXSFRPKDUWEHDWKDELWVRIWKHPDOHVKRSSHU ZKLFKVKRZVWKDWSHUFHQWRIPDOHV

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QRWKLQJWRGRZLWKZKREX\VIRRGSODVWLFEDJV7KLVLVDEODWDQWH[DPSOHRIPLVUHDGLQJRU

PLVLQWHUSUHWLQJGDWDIRUSROHPLFDOSXUSRVHVZKLFK,GRQRWEHOLHYHVHUYHVWKHLQWHUHVWVRIWKH

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               ,VHOHFWHGWKHIHPDOHVDPSOHEDVHGRQP\UHYLHZRISXEOLFO\DYDLODEOH

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               $IWHUUHYLHZLQJWKH0RWLRQDQGWKH([SHUW5HSRUWRI0U+LEEDUGLWFRQWLQXHVWR

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VRXQGDQGDSSURSULDWH,KROGWKDWRSLQLRQWRDUHDVRQDEOHGHJUHHRIFHUWDLQW\ZLWKLQP\ILHOGRI

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